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                                                              Aakash Dalal
                          2021 APR - 7 A IQ: I 0              SBI# 792652E
                                                              South Woods State Prison
                                                              215 Burlington Road South
                                                              Bridgeton, NJ 08302

March 29, 2021

VIA U.S. MAIL
Hon. Madeline Cox Arleo, U.S.D.J.
United States District Court
M.L. King, Jr. Fed. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

       RE:     Plaintiff's Brief in Opposition to the Motion to Dismiss of Defendants
               Matthew J. Astore, Jean M. Hartmann, and Joseph E. Krakora
               Dalal v. Krakora, et al., Civil No.: 21-3439 (MCA-MF)


Dear Judge Arleo:

       Please accept this letter brief in lieµ of a more formal brief as Plaintiff Aakash Dalal' s

opposition to the above-referenced Defendants' Fed. R. Civ. P. 12(b)(6) Motion to Dismiss.


                                PRELIMINARY STATEMENT

       Plaintiff brought the eight-count Complaint in this matter pursuant to 42 U.S.C. § 1983

and the New Jersey Civil Rights Act, N.J.S. 10:6-1 et seq., for violations of both the United

States Constitution and the New Jersey Constitution. The facts in Plaintiffs Complaint

demonstrate that the Defendants Joseph E. Krakora, the New Jersey Public Defender, and his

employees, Matthew J. Astore and Jean M. Hartmann, deprived Plaintiff of his right to counsel,

interfered with his right to counsel, and violated his right to equal protection of the laws. The

Sixth and Fourteenth Amendment to the United States Constitution and Article 1, Paragraphs 1

and 10 of the New Jersey Constitution prohibit such conduct.
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         Defendants' Fed. R. Civ. P. 12(b)(6) motion to dismiss is premised on a distorted

narrative, which omits crucial facts in the Complaint and injects extraneous information with no

basis in the record. Defendants make two arguments in support of their motion: (1) they claim

they cannot be sued in their official capacities; and (2) they claim they are absolutely immune

because public defenders are not state actors. Their first argument is moot because they have not

been sued for damages in their official capacity. Their second argument fails because they were

performing administrative functions when they declined to appoint Plaintiff an attorney, blocked

Plaintiffs privately retained attorney from representing him, and made extortionate demands for

money.

         Courts have drawn a clear distinction between public defenders performing the traditional

functions of counsel, e.g., cross-examining witnesses, and their administrative functions, e.g.,

making fiscal or personnel decisions. While public defenders are not. considered state actors as to

the former functions, they are for the latter, and the Defendants' conduct here clearly falls into

the administr"'tive category. Accordingly, _their motion to dismiss should be denied.


                                                          (
                                   PROCEDURAL HISTORY

         On June 11, 2020, Plaintiff Aakash Dalal ("Plaintiff') brought this civil action in the

Superior Court of New Jersey, Essex County Vicinage. See ECF #1.

         On February 25, 2021, the Defendants removed the matter to this Court. See ECF #1.

         On March 18, 2021, the Defendants moved to dismiss the Complaint. ECF #4 ("MTD")

         Plaintiff now moves in opposition to the Defendants' motion and submits that it should

be denied.




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                              COUNTER-STATEMENT OF FACTS 1


        On March 2, 2012, Plaintiff, a 19-year old, was charged with several offenses in the

Superior Court of New Jersey. Plaintiff has been incarcerated since that day. During and between

March 2, 2012 and July 28, 2017, OPD employees, including OPD Assistant Deputy Public
                                                                             )


Defenders Ian Silvera and Robert Kalisch repeatedly made public statements claiming or

implying Plaintiff was guilty. Silvera publicly referenced Plaintiff as a "dog"-a statement that

was later published by The Record. 2

        On July 28, 2017, Plaintiff was sentenced to 35-years in state prison on the

aforementioned offenses.

        On August 7, 201 7, Plaintiff sent a letter, via facsimile, to Krakora requesting

representation from the Office of the Public Defender for his direct appeal.

        On August 8, 2017, OPD Secretarial Assistant Christina I. Bytz, acting under the

supervision of Astore and/or other employees of the Appellate Section, including John Does 1-

10, sent a ~etter to the Bergen County Superior Court Criminal Division manager seeking to

determine whether Plaintiff was indigent. OPD subsequently determined that Plaintiff was

indeed indigent and could not afford private counsel.

        OPD attorney Frank Pugliese, Esq. entered a temporary appearance on behalf of Plaintiff

and filed a notice of appeal. OPD attorneys routinely filed initial notices of appeal on behalf of

criminal defendants, but the same attorneys do not continue to represent those criminal




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  Defendants have injected statements into their Fed. R. Civ. P. 12(b)(6) motion that have no basis in the
record and fall completely outside of the appropriate facts a court may consider-the facts in the
Complaint. Plaintiffs Counter-statement of Facts relies on the facts in the Complaint.
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  The Court should take judicial notice that these public defenders never represented Plaintiff, but made
these statements amidst media frenzy after Plaintiffs arrest and other proceedings.


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defendants in matter. OPD assigns other attorneys or retains private attorneys (pool attorneys) to
                                                     '
represent these criminal defendants and file appellate briefs.

         During and between September 1, 2017 and April 1, 2018, Plaintiff repeatedly called the

Appellate Section to determine whether an attorney had been assigned to his case. Each time,

Plaintiff was repeatedly advised that an attorney had not been assigned. OPD employees

expressed their surprise that an attorney had not yet been assigned.

         During and between September 1, 2017 and August 1, 2018, Krak:ora, Astore, Hartmann,

and John Does 1-10, acting in an administrative capacity determined that OPD would not assign

Plaintiff an attorney.

         In July 2018, an attorney retained by a member of Plaintiff's family attempted to enter an

appearance on behalf of Plaintiff in the matter and made a request to Astore and Hartmann that

OPD withdraw from the matter. Astore, Hartmann, and John Does 1-10, acting under the

direction of Krakora, refused to withdraw from Plaintiff's case and advised the attorney that they

would refuse to do so unless Plaintiff submitted a payment of approximately $20,000 to OPD for

costs.

         On July 17, 2018, at the direction of Krak:ora, Astore, and Hartmann, OPD employee

Faye Nevous sent a letter to the Bergen County Superior Court Criminal Division Manager

asking her to again "determine whether [Plaintiff] is indigent." The letter further stated that OPD

"will need this document to open the file," even as OPD had already determined Plaintiff was

indigent.

         The Criminal Division Manager again advised OPD that Plaintiff was indeed indigent,

was a college student prior to his incarceration, had no employment during his five-and-a-half

years of incarceration, and could not afford an attorney.




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       Thereafter, Astore, Hartmann, and John Does 1-10, again under the direction ofKrakora,

continued to refuse to withdraw from the matter, thereby preventing Plaintiffs privately retained

attorney from representing him in the matt~r. Eventually, after negotiations, Krakora agreed to

withdraw from the matter if Plaintiffs family member paid OPD $7,500. In late August 2018,

Plaintiffs family member paid OPD $7,500 and Krakora subsequently ordered Astore and

Hartmann to withdraw from the case, allowing Plaintiffs attorney to represent him.
                                                                I



       Similarly situated criminal defendants with pending appeals were timely assigned

attorneys at no expense by Krakora, Astore, Hartmann, and John Does 1-10. The actions of

Krakora, Astore, Hartmann, and John Does 1-10 caused substantial delay in Plaintiffs criminal

appeal, caused Plaintiff to undertake unnecessary financial obligations, and resulted in the

violation of Plaintiffs constitutionally guaranteed rights.




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                                      LEGAL ARGUMENT

POINT I:         DEFENDANTS' HAVE NOT BEEN SUED FOR DAMAGES IN THEIR
                 OFFICIAL I CAPACITY AND THEREFORE, THEIR ARGUMENT FOR
                 DISMISSAL IS MOOT


        Defendants' argument for dismissal of all claims against them in their official capacities

is moot, as they have not been sued for damages in their official capacities under § 1983 or the

NJCRA. They are being sued only in their individual capacities, and the Eleventh Amendment

does not preclude suits brought against state officials in their individual capacities, even if the

challenged conduct was a part of their official responsibilities. Hafer v. Melo, 502 U.S. 21, 31

(1991) ("We hold that state officials, sued in their individual capacities, are 'persons' within the

meaning of§ 1983. The Eleventh Amendment does not bar such suits, nor are state officers

absolutely immune from personal liability under § 1983 solely by virtue of the 'official' nature of

their acts.").



POINT II:        DEFENDANTS ARE NOT ENTITLED TO ABSOLUTE IMMUNITY FOR
                 PERFORMING ADMINISTRATIVE FUNCTIONS


        Defendants Krakora, Astore, and Hartmann argue that they are immune from liability

under § 1983 and the NJCRA because were not acting under the color of state law. Specifically,

they claim that they were acting within their "traditional functions" as criminal defense counsel.

The traditional functions of counsel, however, include "enter[ing] 'not guilty' pleas, mov[ing] to

suppress State's evidence, object[ing] to evidence at trial, cross-examin[ing] State's witnesses,

and mak[ing] closing arguments on behalf of defendants." Polk County v. Dodson, 454 U.S. 312,

320 (1981 ). By contrast, the Defendants here declined to provide Plaintiff counsel at all,

interfered with his right to counsel by blocking his privately retained counsel from entering an



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appearance, and then made an extortionate demand. This conduct is plainly administrative in

nature and renders the Defendants state actors. Id. at 325 ("It may be ... that a public defender

also would act under color of state law while performing certain administrative and possibly

investigative functions.")

       Title 2A of the New Jersey Statutes contains this state's statutes regarding

"Administration of Civil and Criminal Justice". Chapter 158A establishes the OPD and sets forth

the administrative duties of the Public Defender. Significantly, N.J.S. 2A:158A-5, which is

entitled, "Duties of Public Defender", states, "It shall be the duty of the Public Defender to

provide for the legal representation of any indigent defendant who is formally charged with the

commission of an indictable offense." Am.ong the Public Defender's administrative duties is the

investigation of an indigent defendant's finances, N.J.S. 2A:158-15.l, the collection of money

from an indigent defendant, N.J.S. 2A:158-16 to -20, and generally maintaining the finances of

the OPD. N.J.S. 2A:158A-7.

       It is abundantly clear that when public defenders decline to appoint an indigent defendant

counsel, they are state actors and are not entitled to any immunity. Powers v. Hamilton Cnty.

Pub. Defender Comm'n, 501 F.3d 592, 611-13 (6th Cir. 2007) (county public defender's office

and commission were state actors for "systematically violat[ing] class members' constitutional

rights by failing to represent them on the question of indigency" where the plaintiff "d[id] not

seek to recover on the basis of the failures of his individual counsel, but [for] an alleged agency-

wide policy ... of routinely ignoring the issue of indigency in the context of non-payment of

fines"); Miranda v. Clark County, Nevada, 319 F.3d 465,469 (9th Cir. 2003) (public defender

considered state actor where he reduced resources provided to clients whose polygraphs

indicated they were guilty); Stonerod v. Johnson, Civ. No.: 18-2276 (SES), 2020 U.S. Dist.




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LEXIS 63389 *40-41 (M.D. Pa. April 6, 2020) (chief public defender is a state actor where he

establishes policy of declining to appoint counsel unless defendants make physical appearance in

court); Harris v. Grant, Civ. No.: 03-1676 (CCN), 2003 U.S. Dist. LEXIS 7289 *3-4 (E.D. Pa.

2003) ("While the Supreme Court has found that lawyers hired to represent the interests of a

defendant are not functioning as a state actor, it has never held that city or county department

heads of public defender's offices are to be treated in the same manner.")

       Defendants argue (with assertions outside of the Complaint) that the $20,000 they

demanded was for "ancillary services" performed at the "public expense". Any fiscal or

budgetary concerns regarding the resources of the public defenders' office are administrative in

nature. As the Court in Miranda noted, in "allocating [] funds", a public defender is "performing

essentially an administrative role". Miranda, supra, 319 F.3d at 469. Furthermore, while

Defendants attempt to justify their conduct in refusing to allow Plaintiffs privately retained

counsel to represent him unless they were paid $20,000, they clearly had other, more ethical

options. N.J.S. 2A:158A-16 to -20.

       There are no allegations here challenging Defendants' effectiveness as counsel in court.

Indeed, Defendants' are being sued for failing to provide Plaintiff counsel at all. The OPD filed a

perfunctory notice of appeal and determined some time thereafter that it would not provide

Plaintiff with representation. It is significant that the Defendants are administrators in the OPD,

rather than line public defenders. Krakora manages the OPD, Astore managed the OPD's

Appellate Section before retirement, and a search ofLexisNexis and WestLaw indicates that

there are no published New Jersey opinions with Hartmann as counsel after 2009-suggesting

that she functions as a manager or administrator.




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          Defendants' conduct, as stated in Plaintiffs Complaint, was plainly administrative in

nature and as such, Defendants' claim to immunity should be rejected.




                                          CONCLUSION

          For the foregoing reasons, the Defendants' motion to dismiss the complaint should be

denied.



                                                      Respectfully submitted:




                                                      #792652E
                                                      215 Burlington Road South
                                                      Bridgeton, NJ 08302
                                                      Plaintiff, pro se

Dated: March 29, 2021




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   Aakash Dalal
   SBI# 792652E
   215 Burlington Road South
   Bridgeton, NJ 08302                                        101\ ~?R -1 A \0: 10
   Plaintiff, pro se

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


    AAKASH DALAL,                                     Civil Action No.: 21-3439 (MCA-MF)

                                     Plaintiff,

    Vs.

    JOSEPH E. KRAKORA, et al.                         CERTIFICATION OF SERVICE

                                     Defendants.




   Plaintiff Aakash Dalal states as follows:

          1.       I am the Plaintiff in the above-captioned matter and have full knowledge
                   of the facts herein.

          2.       On March 29, 2021, I mailed copies of the enclosed documents for filing
                   to the Clerk of the Court of the United States District Court for the District
                   of New Jersey at 50 Walnut Street in Newark, New Jersey.

          3.   ,   On March 29, 2021, I mailed copies of the enclosed documents to counsel
                   for the defendants: Phoenix N. Meyers, Esq.

          I certify under penalty of perjury that the foregoing statements are true. I am

   aware that if any of the statements made by me are willfully false, I am subject to

   punishment.



                                                                 Plaintiff, pro se

   Dated: March 29, 2021
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                                                                                                      South Woods State Prison
                                2021 APR -1 A JO: I 015 Burlington Road South
                                                                                                      Bridgeton, NJ 08302

   March 29, 2021

   VIA U.S. MAIL
   Clerk of the Court
   United States District Court
   M.L. King, Jr. Fed. Bldg. & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07102

          RE:    Filing of Opposition Brief
                 Dalal v. Krakora, et al., Civil No.: 21-3439 (MCA-MF)


   Dear Clerk:

         Please find enclosed for filing in the above-referenced matter the following
   documents:

          1. Plaintiffs Brief in Opposition to the Motion to Dismiss of Defendants
          2. Certification of Service

          Thank you for your attention to this matter.


                                                                                                            Respectfully submitted:


                                                                                                           ~                '
                                                                                                            Plaintiff, pro se


   Cc: Phoenix Meyers, Esq.
 '5 &l-# 141.65 'l.E            Case 2:21-cv-03439-MCA-MF Document 6 Filed 04/07/21 Page 12 of 12 PageID: 78
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